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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  DERRICK MCNEIL, Individually and on Behalf         )
  of All Others Similarly Situated,                  )
                                                     )
                        Plaintiff,                   )   Case No. 1:17-cv-01036-RGA
                                                     )
  v.                                                 )
                                                     )
  WEST MARINE, INC., MATTHEW L. HYDE,                )
  BARBARA L. RAMBO, RANDOLPH K.                      )
  REPASS, ALICE M. RICHTER, DENNIS F.                )
  MADSEN, CHRISTIANA SHI, JAMES F.                   )
  NORDSTROM, JR., ROBERT D. OLSEN,                   )
                                                     )
                  Defendants.                        )
                                                     )
                                                     )

             STIPULATION AND [PROPOSED] ORDER CONCERNING
             PLAINTIFF’S VOLUNTARY DISMISSAL OF THE ACTION
                 AND PLAINTIFFS’ COUNSEL’S ANTICIPATED
       APPLICATION FOR AN AWARD OF ATTORNEYS’ FEES AND EXPENSES

       WHEREAS, the above-captioned class action (the “Action”) was commenced on behalf

of a putative class of West Marine, Inc. (“West Marine” or the “Company”) stockholders to

challenge the proposed acquisition of West Marine by affiliates of Monomoy Capital Partners

(“Monomoy”), pursuant to an agreement and plan of merger (the “Merger Agreement”) filed with

the United States Securities and Exchange Commission (“SEC”), whereby West Marine

stockholders would receive $12.97 in cash for each share of West Marine stock (the

“Transaction”);

       WHEREAS, on July 24, 2017, West Marine filed a Preliminary Proxy Statement on a

Schedule 14A (the “Preliminary Proxy”) with the SEC in connection with the Transaction;

       WHEREAS, on July 27, 2017, Plaintiff Derrick McNeil (“McNeil” and/or “Plaintiff”)

filed the above-captioned putative class action on behalf of a putative class of West Marine
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stockholders alleging violations of Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 and Rule 14a-9 promulgated thereunder, and alleging that the Preliminary Proxy failed to

disclose information that Plaintiff alleged was necessary to make the statements in the Proxy not

materially false or misleading (the “McNeil Action”);

        WHEREAS, on July 31, 2017, plaintiff Daniel Greenberg (“Greenberg”) filed a putative

class action on behalf of a putative class of West Marine stockholders in the United States District

Court for the Northern District of California alleging violations of Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 and Rule 14a-9 promulgated thereunder, and alleging that the

Preliminary Proxy failed to disclose information that Plaintiff alleged was necessary to make the

statements in the Proxy not materially false or misleading (the “Greenberg Action”);

        WHEREAS, on August 8, 2017, plaintiff Paul Parshall (“Parshall”) filed a putative class

action on behalf of a putative class of West Marine stockholders in the United States District Court

for the Northern District of California alleging violations of Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 and Rule 14a-9 promulgated thereunder, and alleging that the

Preliminary Proxy failed to disclose information that Plaintiff alleged was necessary to make the

statements in the Proxy not materially false or misleading (the “Parshall Action”);

        WHEREAS, the McNeil Action, the Greenberg Action, and the Parshall Action are

collectively referred to as the “Actions,” and McNeil, Greenberg, and Parshall are collectively

referred to as the “Plaintiffs.”

        WHEREAS, on August 11, 2017, Defendants caused a Definitive Proxy Statement on a

Schedule 14A (the “Definitive Proxy”) to be filed with the SEC in connection with the Transaction;




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          WHEREAS, on August 24, 2017, Plaintiff McNeil moved for a Preliminary Injunction to

enjoin the Transaction (the “Injunction Motion”), and sent Defendants’ counsel a copy of the

filing;

          WHEREAS, on September 1, 2017, West Marine filed a Form 8-K with the SEC that

contained certain additional information that amended the Definitive Proxy and mooted the claims

raised in the Plaintiffs’ complaints and asserted as the basis for Injunction Motion (the

“Supplemental Disclosures”);

          WHEREAS, on September 12, 2017, the West Marine stockholder vote on the Transaction

was held and West Marine stockholders voted in favor of the Transaction;

          WHEREAS, on September 14, 2017, the merger of West Marine with affiliates of

Monomoy was completed;

          WHEREAS, Plaintiffs believe and contend that the Supplemental Disclosures were

material and mooted the claims set forth in their Actions;

          WHEREAS, Plaintiffs agreed voluntarily to dismiss their claims as a pre-condition for

West Marine’s issuance of the Supplemental Disclosures;

          WHEREAS, Plaintiffs assert that the prosecution of the Actions caused West Marine to

file the Supplemental Disclosures with the SEC and that Plaintiffs’ counsel has the right to seek

and recover attorneys’ fees in connection with a claimed common benefit provided to West Marine

stockholders as a result of the filing of the Supplemental Disclosures;

          WHEREAS, Plaintiffs agreed to submit a single application for attorneys’ fees and

expenses, and have further agreed that any such application will be filed solely in this Court (“Fee

and Expense Application”);

          WHEREAS, Defendants have denied and continue to deny any wrongdoing, contend



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that no claim asserted in the Action was ever meritorious and deny that the Supplemental

Disclosures were material;

       WHEREAS, no class has been certified in the Actions;

       WHEREAS, Defendants reserve the right to oppose, in whole or in part, any Fee and

Expense Application submitted by Plaintiffs relating to the Actions;

       IT IS HEREBY STIPULATED AND AGREED, by Plaintiff McNeil and Defendants,

through their respective undersigned counsel, subject to the approval of the Court that:

       1.      Plaintiff hereby voluntarily dismisses his Action with prejudice as to the named

Plaintiff and without prejudice as to the putative class pursuant to Federal Rule of Civil Procedure

41(a), and the Action is so dismissed.

       2.      Because no class has been certified, the dismissal is as to the named Plaintiff only

and has no effect upon the putative class. Because no class claims are being compromised and no

consideration or compensation has been given or promised to Plaintiff or his counsel, no notice of

this dismissal is required.

       3.      This Court retains continuing jurisdiction over the Action solely for purposes of

any potential further proceedings related to the adjudication of Plaintiffs’ prospective Fee and

Expense Application, should such application become necessary.

       4.      The parties shall meet and confer concerning Plaintiffs’ claim for attorneys’ fees

and expenses. To the extent that the parties are unable to reach an agreement, they will contact

the Court to set a stipulated briefing and hearing schedule for Plaintiffs’ Fee and Expense

Application. If the parties reach an agreement concerning Plaintiffs’ claim for fees and expenses,

they will notify the Court.




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       5.      This Stipulation is not intended to, and shall not, waive or prejudice any right or

argument that may be asserted or presented by Plaintiffs or Defendants in support of or in

opposition to any claim by Plaintiff for attorneys’ fees and expenses.

       6.      Any Fee and Expense Application will be jointly filed in this Action with the

counsel for Plaintiffs.

Dated: October 17, 2017

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Dennis F. Madsen, Christiana Shi, James F.
Nordstrom, Jr., and Robert D. Olsen




SO ORDERED this __________________________ day of _____________________, 2017.



                                                 ____________________________________
                                                 UNITED STATES DISTRICT JUDGE
                                                 RICHARD G. ANDREWS




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